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 8                                 UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ESTATE OF HAILE NEIL, et al.,                     No. 2:19-cv-2441 TLN DB
12                       Plaintiffs,
13           v.                                         ORDER
14    COUNTY OF COLUSA, et al.,
15                       Defendants.
16

17          On May 5, 2023, plaintiffs filed a motion to compel and noticed the motion for hearing

18   before the undersigned on May 26, 2023, pursuant to Local Rule 302(c)(1). (ECF No. 61.)

19   Pursuant to Local Rule 251 the parties filed a Joint Statement re Discovery Disagreement on May

20   12, 2023. (ECF No. 62.)

21          The parties’ Joint Statement states that the parties met and conferred on May 5, 2023, and

22   that same day plaintiffs “filed the instant motions.” (Id. at 7.) The Joint Statement reflects no

23   further meet and confer between the parties. The undersigned’s Standard Information re

24   discovery disputes set forth on the court’s web page explains that parties must meet and confer

25   prior to filing a discovery motion and “must again confer in person or via telephone or video

26   conferencing” prior to the filing of the joint statement. See

27   http://www.caed.uscourts.gov/caednew/index.cfm/judges/all-judges/united-states-magistrate-

28   judge-deborah-barnes-db. The parties in this action were explicitly advised of this in the
                                                        1
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 1   undersigned’s June 16, 2020 order. (ECF No. 24.) Plaintiffs’ motion therefore will be denied

 2   without prejudice to renewal to a motion that complies with the Local Rules and the

 3   undersigned’s Standard Information.

 4           Accordingly, IT IS HEREBY ORDERED that:

 5           1. Plaintiffs’ May 5, 2023 motion to compel (ECF No. 61) is denied without prejudice to

 6   renewal; and

 7           2. The May 26, 2023 hearing is vacated.

 8   DATED: May 22, 2023                           /s/ DEBORAH BARNES
                                                   UNITED STATES MAGISTRATE JUDGE
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